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                                                                                   2019 Jan-09 AM 11:40
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

REBECCA ANNE PETERS,
on behalf of herself and all others
similarly situated,

             Plaintiff,
                                                     2:17-cv-1273-MHH
      v.

TRANS UNION, LLC,

             Defendant.

JOINT NOTICE OF NATIONWIDE CLASS ACTION SETTLEMENT AND
     STIPULATION OF DISMISSAL OF THE INSTANT ACTION

      Plaintiff Rebecca Anne Peters and Defendant Trans Union, LLC (the Parties),

by and through their respective counsel, hereby submit this Joint Notice of

Nationwide Class Action Settlement and Stipulation of Dismissal of the Instant

Action, and in support hereof state as follows:

      1.     This case is one of several class actions brought in various jurisdictions

against Defendant alleging violations of the Fair Credit Reporting Act, 15 U.S.C.

§§ 1681-1681x, regarding the reporting and disclosure of public record information.

      2.     On February 23, 2018, a nationwide settlement was reached in the

consolidated cases Clark v. Trans Union, LLC, No. 3:15-cv-391 (E.D. Va.) and

Anderson v. Trans Union, LLC, No. 3:16-cv-558 (E.D. Va.) (“Clark”).
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      3.     The terms of the Clark settlement embrace the class claims pled in this

litigation, and thus resolve all claims in this matter.

      4.     Judge Lauck of the Eastern District of Virginia granted final approval

to the settlement and final judgment in Clark on August 29, 2018. Clark/Anderson

Dkt. Nos. 272 & 273.

      5.     No appeals were taken from Judge Lauck’s orders.

      6.     Therefore, the Parties request the dismissal of the instant action with

prejudice.

Dated:       January 9, 2019           Respectfully submitted,

TREVA SUDELL JONES,                    TRANS UNION, LLC,
by her attorneys,                      by its attorneys,

/s/ James A. Francis                   /s/ Stephen J. Newman
James A. Francis                       Stephen J. Newman
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                         CERTIFICATE OF SERVICE

      I, James A. Francis, do hereby certify that on January 9, 2019, a true and

correct copy of the foregoing Joint Notice of Nationwide Class Action Settlement

and Stipulation of Dismissal of the Instant Action was electronically filed with the

Court on the below listed date and is available for viewing and downloading from

the ECF System. All counsel of record were served via electronic notification.

                                         /s/ James A. Francis
                                         James A. Francis
